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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION


 IN RE:                                       )
                                              )
      EASTERN LIVESTOCK CO., LLC,             )       CASE NO. 10-93904-BHL-11
                                              )
                       Debtor.                )

            MOTION FOR EXAMINATION AND PRODUCTION OF DOCUMENTS
                       PURSUANT TO FED. R. BANKR. P. 2004
 ______________________________________________________________________________



                The First Bank and Trust Company ("First Bank"), by counsel, for its motion

 requests an order of the Court authorizing and directing the examination of Cactus Growers, Inc.

 ("Cactus"), Friona Industries, L.P. ("Friona"), and J&F Oklahoma Holdings, Inc.1 ("J&F")

 (collectively, "Three Major Feedlots") and directing the Three Major Feedlots to produce

 documents pursuant to Fed. R. Bankr. P. 2004, and in support thereof alleges and states as

 follows:


 I.       INTRODUCTION AND BACKGROUND OF THE PRESENT DISPUTE

                1.     This is a motion to seek crucial information relating to the location and

 condition of mobile and perishable assets -- cattle -- from the Three Major Feedlots. After

 Eastern Livestock collapsed in November 2010, the Three Major Feedlots continued to thrive. In

 other words, after Eastern Livestock disappeared and stopped shipping cattle to the Three Major

 Feedlots, the Three Major Feedlots, as well as other feedlots, did not notice any decrease in the

 supply of cattle. Numerous lenders, including First Bank, lent millions of dollars to Eastern
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 Livestock and Thomas P. Gibson and took a security interest in millions of dollars of cattle.

 Some of these cattle have been slaughtered, while others are presumably still on feed at feedlots

 throughout the country. First Bank has documented that approximately 8,000 head of cattle

 disappeared between First Bank's inspections in October 2010 and November 2010. When

 contrasted against the uninterrupted supply of cattle to feedlots across the country, including the

 Three Major Feedlots, to the extent the cattle are still alive, it is only logical they are located at

 feedlots, including the Three Major Feedlots. To the extent that the cattle have been slaughtered,

 the cattle likely were located for some time at feedlots, including the Three Major Feedlots. First

 Bank is seeking information from the Three Major Feedlots that may lead to the identification of

 cattle (or proceeds) in which First Bank maintains a perfected purchase money security interest.

 First Bank's requests are neither burdensome nor require disclosure of proprietary information

 without assurances of strict confidentiality.

                  2.      This motion under Fed. R. Bankr. P. 2004 follows numerous

 communications between counsel for First Bank and counsel for the Three Major Feedlots

 relating to First Bank's requests for information. Since First Bank issued its requests for

 information to the Three Major Feedlots on January 31, 2011, thousands of cattle have been

 slaughtered (some of which could be subject to First Bank's lien), and First Bank has not yet

 received information from the Three Major Feedlots that may assist First Bank in locating more

 than $6 million in cattle that vanished between October and November 2010.

                  3.      With regard to the Three Major Feedlots, Cactus and Friona are two of the

 largest feedlots in the country. J&F owns, pursuant to an ownership split agreement with JBS

 USA, up to 800,000 head of cattle that are fed exclusively by JBS Five Rivers (a subsidiary of


 1
   For purposes of this motion, any accompanying order, or subpoena, J&F includes the affiliated entity JBS Five
 Rivers and any JBS-affiliated feedlots.

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 JBS USA) on at least 10 different feedlots. The Three Major Feedlots, therefore, are the final

 finishing locations for a significant number of the nation's cattle in the months just before

 slaughter. The records of the Three Major Feedlots are the last respite for locating the live (or

 formerly live) assets of this estate.

                 4.      First Bank is a secured creditor of Thomas and Patsy Gibson (the

 "Gibsons"). Its collateral includes, inter alia, cattle owned by the Gibsons. The Gibsons have

 failed to account for the whereabouts of approximately 8,000 head of cattle that collateralized the

 Gibson's indebtedness to First Bank. Some of the unaccounted for cattle have been sold to

 feedlots, including Friona and J&F (and upon information and belief to Cactus), without proper

 recognition of First Bank's lien. The Three Major Feedlots likely purchased cattle from Eastern

 Livestock, an affiliated person or entity of Eastern Livestock, directly from the caretaker farms at

 which the Gibsons had their cattle fed, or from other unknown sources, without transferring these

 proceeds to Thomas P. Gibson, First Bank, or the estates for Eastern Livestock or the Gibsons.

                 5.      First Bank presently lacks information regarding the current location or

 condition of the majority of the 8,000 head of cattle that are now missing. First Bank, however,

 has information that at least some of the 8,000 head of cattle were shipped to the Three Major

 Feedlots (including JBS Five Rivers), but it has no information as to the exact number of cattle

 that the Three Major Feedlots purchased subject to its liens. Thus, First Bank needs information

 from the Three Major Feedlots to determine the current location or condition of any missing

 cattle that may have been shipped to the Three Major Feedlots. In addition, this information will

 likely lead to the discovery of admissible evidence on behalf of creditors of the Eastern

 Livestock and Gibson bankruptcies even if the cattle identified were not subject to a First Bank

 lien.



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                  6.       Since serving its requests for information to the Three Major Feedlots on

 January 31, 2011, First Bank's counsel has used substantial extra-judicial efforts to obtain

 informally from the Three Major Feedlots certain documents that would assist First Bank in

 tracing cattle and proceeds subject to First Bank's lien. Although counsel for First Bank and

 counsel for the Three Major Feedlots have not reached an agreement regarding the production of

 documents, progress has been made recently (as indicated below). The Three Major Feedlots

 first stated that First Bank's requests were unduly burdensome and could be read broadly to

 require millions of pages of documents. This was, of course, never First Bank's goal. Therefore,

 counsel proposed a three-part document production and witness examination plan that would

 involve First Bank reviewing computer generated summary reports of the Three Major Feedlots'

 transactions within limited time periods, which the Three Major Feedlots readily admit they

 could generate. Then First Bank would identify a very limited number of transactions from the

 summary reports that potentially relate to cattle financed by First Bank for which First Bank

 would request additional documentation from the Three Major Feedlots. The Three Major

 Feedlots then expressed concerns that this would require the disclosure of confidential

 information to the public. Again, of course, this was never First Bank's goal; so it agreed to

 permit the Three Major Feedlots to mark documents as "Confidential," which would be reviewed

 only by attorneys and clients, until a stipulated protective order is submitted to this Court. On

 March 17, 2011, counsel for the Three Major Feedlots submitted a proposal by letter that was a

 concession to some of the information requested. Nonetheless, the intervention of this Court

 may be necessary to grant First Bank authority to issue subpoenas to the Three Major Feedlots to

 order the discovery.2 The Three Major Feedlots have acceded in part, to First Bank's proposed


 2
   The term "discovery" is used generally in this motion to refer to First Bank's request for production of documents
 and requests for examinations pursuant to Fed. R. Bank. P. 2004.

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 terms in its three-part plan (set forth below in Section III); however, additional discussion and

 negotiation are needed before an agreement could be reached between counsel for the Three

 Major Feedlots and counsel for First Bank. Counsel for First Bank will discuss proposed terms

 of an agreement with counsel for the Three Major Feedlots in the hope that this Court will not

 have to involve itself in a discovery dispute. This discovery is paramount, however, so in

 keeping with the representations to the Court during the March 11 Omnibus, First Bank files this

 formal motion.

 II.     THE INFORMATION REQUESTED BY FIRST BANK UNDER FED. R. BANKR. P.
         2004 IS NECESSARY TO IDENTIFY ASSETS THAT ARE PART OF EASTERN
         LIVESTOCK'S AND THE GIBSONS' ESTATES

                  7.     The documents sought by First Bank from the Three Major Feedlots are

 needed to determine (1) whether, and to what extent, property that belongs to Eastern Livestock's

 estate or Gibsons' estate was transferred or sold to the Three Major Feedlots without proper

 recognition of First Bank's lien; and (2) to permit First Bank to trace cattle and proceeds from the

 sale of cattle before the cattle are processed, or before the traceability of cattle and proceeds

 otherwise becomes increasingly difficult.

                  8.     Fed. R. Bankr. P. 2004(b) provides that an examination of an entity must

 relate "to the acts, conduct, or property or to the liabilities and financial condition of the debtor,

 or to any matter which may affect the administration of the debtor's estate." "It is well-

 established that the scope of a Rule 2004 examination is very broad and great latitude of inquiry

 is ordinarily permitted. The scope of examination permitted pursuant to Rule 2004 . . . can

 legitimately be in the nature of a 'fishing expedition.'" In re Fearn, 96 B.R. 135, 137-38 (Bankr.

 S.D. Ohio 1989) (citations omitted). "[S]uch examination is not limited to the debtor or his

 agents, but may properly extend to creditors and third parties who have had dealings with the

 debtor." Id at 138.
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                9.      Fed. R. Bankr. P. 2004 is also designed to permit the prompt acquisition of

 information. "[T]he primary purpose of a Rule 2004 examination is to permit a party in interest

 to quickly ascertain the extent and location of the estate's assets . . . ." Id. at 138 (emphasis

 added) (citation omitted). Accord: Dynamic Fin. Corp. v. Kipperman (In re North Plaza, LLC),

 395 B.R. 113, 125 (Bankr. S.D. Cal. 2008) ("Bankruptcy Rule 2004, however, reflects a strong

 federal interest in allowing a court to gain a clear picture of the condition and whereabouts of the

 estate and to examine witnesses having knowledge of a debtor's acts, conduct, liabilities,

 assets.").

                10.     First Bank proposes a plan for discovery from the Three Major Feedlots

 that is reasonable, cost-effective, and within the parameters of Fed. R. Bankr. P. 2004. Even

 though caselaw provides that Fed. R. Bankr. P. 2004 examinations may properly be a "fishing

 expedition," First Bank's discovery under Fed. R. Bankr. P. 2004 is much narrower. First Bank

 requests a three-part document production and examination plan that minimizes, to the fullest

 extent possible, the burden and expense on all parties, while at the same time ensuring that First

 Bank obtains needed information.

 III.    FIRST BANK'S PROPOSED PLAN FOR PRODUCTION OF DOCUMENTS AND
         EXAMINATIONS UNDER FED. R. BANKR. P. 2004

                11.     First Bank requests that this Court authorize the issuance of subpoenas

 (attached as Exhibit A) and order the production of documents from and examination of the

 Three Major Feedlots in accordance with the following terms and schedule:

                        PHASE 1: On or before April 22, 2011, the Three Major Feedlots shall
                        each produce at least two computer-generated reports from their cattle
                        tracking software. First, the Three Major Feedlots shall each produce one
                        report that summarizes all cattle received from transactions with Eastern
                        Livestock Co., LLC or Thomas P. Gibson or Patsy M. Gibson in the
                        period from June 1, 2010 to December 31, 2010. Second, the Three Major
                        Feedlots shall each produce a report summarizing all cattle on feed that
                        entered their respective feedlots from October 1, 2010 to March 31, 2011.
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                       Both of these reports shall include available information such as delivery
                       date, lot number, in-weight, head count, sex, producer or seller, and origin
                       location to the extent such information is readily available from the
                       computer reports in the ordinary course of business.

                       PHASE 2: On or before May 6, 2011, First Bank shall specify in writing
                       specific transactions or specific lots of cattle from the reports produced by
                       the Three Major Feedlots, for which the Three Major Feedlots shall
                       produce additional information.

                       On or before May 20, 2011, for each of the transactions or lots identified
                       by First Bank, the Three Major Feedlots shall produce the entire lot file
                       constituting or relating to transactions or lots identified by First Bank; as
                       used herein "lot file" includes, but is not limited to receiving sheets,
                       receiving notifications, receiving reports, processing records, purchase
                       agreements for cattle, security agreements, promissory notes, financing
                       statements, assignments, bills of sale, note histories, note summary
                       analyses, hauling logs, bills of lading, documentation showing from where
                       cattle were shipped, financial summaries, yard sheets, comprehensive yard
                       sheets, checks, check stubs, invoices, and close out sheets. If copying and
                       production of these portions of lot files identified by First Bank would be
                       unduly burdensome, then the Three Major Feedlots shall permit First Bank
                       to inspect and copy such lot files as maintained in the ordinary course of
                       business at mutually convenient times and places.

                       PHASE 3: If First Bank states in writing that it intends to examine
                       representatives of the Three Major Feedlots after First Bank has had
                       adequate time to review documents produced by the Three Major
                       Feedlots, then the Three Major Feedlots are directed to designate
                       appropriate representatives who shall submit to examinations by First
                       Bank. Such examinations shall begin at mutually convenient times and
                       places and continue from day to day thereafter until completed.

                12.    At first blush, at least the second portion of Phase 1, may appear to be

 broad-sweeping and require disclosure of transactions that have nothing to do with this

 controversy. But, it is the least burdensome way for the Three Major Feedlots to produce the

 information and is the only way First Bank can assure it captures all relevant information. At

 present, the Three Major Feedlots acknowledge that First Bank cannot narrow the request, other

 than by a time period, for a summary report for all cattle on feed that entered the Three Major

 Feedlots' respective feedlots from October 1, 2010 to March 31, 2011 without risking the loss of


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 potentially relevant transactions. The effort to recover missing cattle will likely involve

 identifying persons who engaged in "self-help" to recover from their own losses from Gibson's

 and Eastern Livestock's activity. Therefore, one should not expect that transactions outside the

 ordinary course of business would have the same readily identifiable tracings as previous

 transactions in the ordinary course before Eastern Livestock's demise. In other words, the

 missing 8,000 cattle in November 2010 were sold or transferred largely from unknown locations,

 by and to unknown persons, who may or may not have used identifying information similar to

 the information possessed by First Bank.

                13.     Moreover, First Bank's proposed first phase of production imposes less of

 a burden on the Three Major Feedlots, which would have to run only two queries of their

 databases for the two reports -- the first of which identifies all transactions with Eastern

 Livestock or its affiliated persons or entities between June 1, 2010 and December 31, 2010, and

 the second of which identifies all transactions between October 1, 2010 and March 31, 2011.

                14.     The present form of the discovery is the only reasonable and confidential

 method, with the least burden on the producing parties, to obtain the crucial evidence that is at

 the very crux of these bankruptcies. First Bank reserves its rights to seek additional information

 from the Three Major Feedlots, or to seek discovery through any adversary proceedings or

 contested matters.

                WHEREFORE, First Bank requests that the Court issue an order (attached as

 Exhibit B):


                (1)     directing the Three Major Feedlots to produce documents, pursuant to Fed.

 R. Bankr. P. 2004, in accordance with the terms herein, at locations to be agreed to by the

 parties;


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                (2)    directing the Three Major Feedlots to designate representatives who shall

 submit to examinations by First Bank, pursuant to Fed. R. Bankr. P. 2004, if First Bank states in

 writing that it intends to examine representatives of the Three Major Feedlots.


                                                   Respectfully submitted,



                                                   /s/ Daniel J. Donnellon
                                                   Daniel J. Donnellon, pro hac vice
                                                   Stephen A. Weigand, pro hac vice
                                                   FARUKI IRELAND & COX P.L.L.
                                                   201 East Fifth Street, Suite 1420
                                                   Cincinnati, OH 45202
                                                   Telephone: (513) 632-0300
                                                   Telecopier: (513) 632-0319
                                                   Email: ddonnellon@ficlaw.com

                                                   Attorneys for The First Bank and Trust
                                                   Company




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                                  CERTIFICATE OF SERVICE

                I hereby certify that on March 18, 2011, a true and correct copy of the foregoing

 Motion for Examination and Production of Documents Pursuant to Fed. R. Bankr. P. 2004 was

 filed electronically. Notice of this filing will be sent to all parties through the Court’s Electronic

 Case Filing System. Parties may access this filing through the Court’s system.


 David L. Abt                        Kim Martin Lewis                    Jessica E. Yates
 davidabt@mwt.net                    kim.lewis@dinslaw.com               jyates@swlaw.com

 C. R. Bowles, Jr                    Jeremy S Rogers                     John Huffaker
 crb@gdm.com                         Jeremy.Rogers@dinslaw.com           john.huffaker@sprouselaw.com

 John Hunt Lovell                    Ivana B. Shallcross                 Matthew J. Ochs
 john@lovell-law.net                 ibs@gdm.com                         matt.ochs@moyewhite.com

 Mark A. Robinson                    Deborah Caruso                      Laura Day Delcotto
 mrobinson@vhrlaw.com                dcaruso@daleeke.com                 ldelcotto@dlgfirm.com

 Jesse Cook-Dubin                    Meredith R. Thomas                  Kelly Greene McConnell
 jcookdubin@vorys.com                mthomas@daleeke.com                 lisahughes@givenspursley.com

 Edward M King                       William Robert Meyer, II            T. Kent Barber
 tking@fbtlaw.com                    rmeyer@stites.com                   kbarber@dlgfirm.com

 Randall D. LaTour                   Allen Morris                        Ross A. Plourde
 rdlatour@vorys.com                  amorris@stites.com                  ross.plourde@mcafeetaft.com

 John Frederick Massouh              Charles R. Wharton                  Jeffrey E. Ramsey
 john.massouh@sprouselaw.com         Charles.R.Wharton@usdoj.gov         jramsey@hopperblackwell.com

 John W. Ames                        James Bryan Johnston                Walter Scott Newbern
 jwa@gdm.com                         bjtexas59@hotmail.com               wsnewbern@msn.com

 James M. Carr                       James T. Young                      Kirk Crutcher
 jim.carr@bakerd.com                 james@rubin-levin.net               kcrutcher@mcs-law.com

 Robert K. Stanley                   David L. LeBas                      Todd J. Johnston
 robert.stanley@bakerd.com           dlebas@namanhowell.com              tjohnston@mcjllp.com

 Terry E. Hall                       Judy Hamilton Morse                 Timothy T. Pridmore
 terry.hall@bakerd.com               judy.morse@crowedunlevy.com         tpridmore@mcjllp.com

 Robert Hughes Foree                 John M. Thompson               Theodore A Konstantinopoulos
 robertforee@bellsouth.net           john.thompson@crowedunlevy.com ndohbky@jbandr.com


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 Karen L. Lobring                John M. Rogers                    Robert H. Foree
 lobring@msn.com                 johnr@rubin-levin.net             robertforee@bellsouth.net

 Sandra D. Freeburger            Cathy S. Pike                     Sarah Stites Fanzini
 sfreeburger@dsf-atty.com        cpike@weberandrose.com            sfanzini@hopperblackwell.com

 Lisa Koch Bryant                John David Hoover                 Michael W. McClain
 courtmail@fbhlaw.net            jdhoover@hooverhull.com           mike@kentuckytrial.com

 Elliott D. Levin                Sean T. White                     David A. Domina
 robin@rubin-levin.net           swhite@hooverhull.com             ddomina@dominalaw.com
 edl@trustesolutions.com



                                                           /s/ Daniel J. Donnellon
                                                           Daniel J. Donnellon

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